           Case 2:07-cr-00348-MCE Document 49 Filed 08/15/08 Page 1 of 2


 1   McGREGOR W. SCOTT
     United States Attorney
 2   PHILIP A. FERRARI
     Assistant United States Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2744
 5
 6
 7
 8
 9                    IN THE UNITED STATES DISTRICT COURT
10                   FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,        )       Case. No. CR-S-07-0348 FCD
                                      )
14                   Plaintiff,       )
                                      )       STIPULATION AND ORDER
15                                    )
          v.                          )
16                                    )
     DARRON REED,                     )       Date: September 2, 2008
17                                    )       Time: 10:00 a.m.
                     Defendant.       )       Hon. Frank C. Damrell, Jr.
18                                    )
                                      )
19
20
21        It is hereby stipulated by and between the United States of
22   America through Philip Ferrari, Assistant United States Attorney,
23   and defendant Darron Reed, by and through his counsel, Daniel
24   Broderick, Esq., that the appearance currently set for August 18,
25   2008, be vacated and reset for a contemplated change of plea on
26   September 2, 2008, at 10:00 a.m.
27        The continuance is being requested because the parties need
28   more time to investigate the facts of the case and seek resolution
     of the case.

                                          1
           Case 2:07-cr-00348-MCE Document 49 Filed 08/15/08 Page 2 of 2


 1        Speedy trial time is to be excluded from the date of this order
 2   through the date of the hearing set for September 2, 2008 pursuant
 3   to 18 U.S.C.   3161(h)(8)(B)(iv) [reasonable time to prepare] (Local
 4   Code T4).
 5   DATED: August 15, 2008                    /s/ Philip A. Ferrari for
                                              DANIEL BRODERICK, ESQ.
 6                                            Attorney for Defendant
 7
 8   DATED: August 15, 2008                   McGREGOR W. SCOTT
                                              United States Attorney
 9
10                                     By:     /s/ Philip A. Ferrari
                                              PHILIP A. FERRARI
11                                            Assistant U.S. Attorney
12
13
          IT IS SO ORDERED.
14
15
     DATED: August 15, 2008             _______________________________________
16                                      FRANK C. DAMRELL, JR.
                                        UNITED STATES DISTRICT JUDGE
17
18
19
20
21
22
23
24
25
26
27
28



                                          2
